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Entered: June 30th, 2025
Signed: June 30th, 2025

SO ORDERED




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                          at Baltimore
                                   In re:   Case No.: 25−15437 − NVA           Chapter: 7

Brandon Michael Chasen Sr
Alleged Debtor

                           ORDER DIRECTING DEBTOR'S COUNSEL
                     TO COMPLY WITH LOCAL BANKRUPTCY RULE 2016−1(b)


Counsel entered an appearance for the Alleged Debtor after filing of this bankruptcy case. Local Bankruptcy Rule
2016−1(b) provides:

       RULE 2016−1 COMPENSATION OF PROFESSIONALS

       (b) Disclosure of Compensation. An attorney representing a debtor in a case or in connection with a case must
       file a Federal Bankruptcy Rule 2016(b) disclosure statement with the petition. If an attorney commences
       representation of the debtor in a case or in connection with a case after the filing of the petition, such attorney
       must file the Federal Bankruptcy Rule 2016(b) disclosure statement at the time representation is commenced.

Counsel listed below is directed to comply with Local Bankruptcy Rule 2016−1(b) within fourteen (14) days after the
date of entry of this Order, failing which counsel shall return all compensation collected from the Alleged Debtor for
this case.



cc:    Alleged Debtor
       Attorney for Debtor − Adam M. Freiman
       U.S. Trustee

                                                     End of Order
11x08 (rev. 12/01/2009) − KellyHorning*
